                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

DAVID’S BRIDAL, INC., et al.,1                                    Case No. 18-12635 (LSS)

                                       Debtors.                   Jointly Administered



   DECLARATION OF JUNG W. SONG ON BEHALF OF DONLIN, RECANO &
COMPANY, INC. REGARDING SOLICITATION OF VOTES AND TABULATION OF
  BALLOTS ACCEPTING AND REJECTING PROPOSED JOINT PREPACKAGED
PLAN OF REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

I, Jung W. Song, declare, under penalty of perjury:

         1.        I am a Senior Managing Director of Donlin, Recano & Company, Inc. (“DRC”),2

located at 6201 15th Avenue Brooklyn, New York 11219. I am over the age of eighteen years and

not a party to the above-captioned action. Unless otherwise noted, I have personal knowledge of

the facts set forth herein.

         2.        I submit this declaration with respect to the solicitation of votes and the tabulation

of ballots cast on the Debtor’s Proposed Joint Prepackaged Plan of Reorganization under Chapter

11 of the Bankruptcy Code, dated November 18, 2018 [Docket No. 12] (as may be amended,

supplemented, or modified from time to time, the “Prepackaged Plan”). Except as otherwise

noted, all facts set forth herein are based on my personal knowledge, knowledge that I acquired

from individuals under my supervision, and my review of the relevant documents. I am authorized




1
     The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: David’s
     Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc. (3096). The location of the
     Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken, Pennsylvania 19428.
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     Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Disclosure Statement
     or Prepackaged Plan (as defined below), as applicable.
to submit this declaration on behalf of DRC. If I were called to testify, I could and would testify

competently as to the facts set forth herein.

       3.      Prior to the commencement of these chapter 11 cases, the Debtors retained DRC as

their solicitation and voting tabulation agent to assist with, among other things, (a) service of

solicitation materials to the parties entitled to vote to accept or reject the Prepackaged Plan and (b)

tabulation of votes cast with respect thereto. DRC and its employees have considerable experience

in soliciting and tabulating votes to accept or reject proposed prepackaged chapter 11 plans.

       4.      After the Petition Date, on November 20, 2018, this Court authorized DRC’s

retention as the claims and noticing agent in these chapter 11 cases pursuant to the Order

Authorizing the Debtors to Retain and Appoint Donlin, Recano & Company, Inc. as Claims and

Noticing Agent Effective Nunc Pro Tunc to the Petition Date [Docket No. 87]. In addition, on

December 18, 2018, this Court authorized DRC’s retention as the Debtors’ administrative advisor

pursuant to the Order Authorizing the Debtors to Retain and Employ Donlin, Recano & Company,

Inc. as Administrative Advisor Effective Nunc Pro Tunc to the Petition Date [Docket No. 212].

I.     Service and Transmittal of Solicitation Packages

       5.      The procedures adhered to by DRC for the solicitation and tabulation of votes are

outlined in the Disclosure Statement for Joint Prepackaged Chapter 11 Plan of Reorganization of

David’s Bridal, Inc. and its Affiliated Debtors (the “Disclosure Statement”), dated November 18,

2018 [Docket No. 13], and in the ballots distributed to parties entitled to vote on the Prepackaged

Plan (collectively, the “Solicitation Procedures”). I supervised the solicitation and tabulation

performed by DRC’s employees.

       6.      The Debtors established November 15, 2018 as the record date (the “Voting

Record Date”) for determining which creditors were entitled to vote on the Prepackaged Plan.




                                                  2
Pursuant to the Prepackaged Plan and the Solicitation Procedures, only holders of claims who (i)

are “accredited investors,” as defined in Rule 501(a) under Regulation D of the Securities Act of

1933, and (ii) held their claims in the following classes as of the Voting Record Date, were entitled

to vote to accept or reject the Plan (the “Voting Classes”):

                  Classes                               Class Description

                  Class 4                       Prepetition Term Loan Claims

                  Class 5                            Unsecured Notes Claims



No other classes under the Prepackaged Plan were entitled to vote on the Prepackaged Plan.

       7.      In accordance with the Solicitation Procedures, DRC worked closely with the

Debtors and their advisors to identify the holders entitled to vote in the Voting Classes as of the

Voting Record Date, and to coordinate the distribution of solicitation materials to these holders.

DRC relied on the following information to identify and solicit Holders of Claims in the Voting

Classes: (a) a lender list for holders of Prepetition Term Loan Claims; and (b) a security position

report from DTC listing banks and brokers holding Unsecured Notes as of the Voting Record Date.

Using this information, and with guidance from the Debtors and their advisors, DRC created a

voting database reflecting the name, address, voting amount, and classification of Claims in the

Voting Classes

       8.      In addition, DRC coordinated the distribution of solicitation materials to holders of

securities in the Voting Classes in accordance with procedures commonly used to serve solicitation

materials on holders of such securities. A detailed description of DRC’s distribution of solicitation

materials is set forth in DRC’s Affidavit of Service, which was filed with the Court on December

11, 2018 [Docket No. 165].




                                                 3
       9.       On or around November 19, 2018, links were posted on the Debtors’ restructuring

website maintained by DRC at http://www.donlinrecano.com/db providing parties with access to,

among other documents, copies of the Prepackaged Plan, and Disclosure Statement.

II.    General Tabulation Process

       10.      Further, in accordance with the Solicitation Procedures and Disclosure Statement,

DRC reviewed, determined the validity of, and tabulated the ballots submitted to vote on the

Prepackaged Plan. Ballots returned by U.S. first class mail, overnight delivery, personal delivery

by hand, or electronic mail were received by personnel of DRC at its office in Brooklyn, New

York. Ballots received by DRC were processed in accordance with the Disclosure Statement and

Solicitation Procedures. Upon receiving ballots, DRC took the following actions:

             a. The envelopes or emails containing the ballots were opened, and the contents were
                reviewed, removed or printed (as applicable), and stamped with the date and time
                received. Each ballot was then scanned into DRC’s system and sequentially
                numbered (the “Sequence Number”).

             b. DRC then entered into a computer database all pertinent information from each of
                the ballots, including among other things, the date and time the ballot was received,
                the Sequence Number, the voting dollar amount, whether the creditor submitting
                the ballot rejected the Prepackaged Plan and did not consent to the releases set forth
                in Section 10.6 of the Prepackaged Plan and whether the creditor submitting the
                ballot voted to accept or reject the Plan.

       11.      To be included in the tabulation results as valid, a ballot must have been (a) properly

completed pursuant to the Solicitation Procedures, (b) executed by the relevant holder entitled to

vote on the Prepackaged Plan (or such holder’s authorized representative), (c) returned to DRC via

an approved method of delivery set forth in the Solicitation Procedures and (d) received by DRC

by 5:00 p.m. (prevailing Eastern Time) on December 18, 2018 (the “Voting Deadline”) unless

extended or waived by the Debtors. All ballots were to be delivered to DRC as follows: (a) if by

U.S. Postal Service mail, Donlin, Recano & Company, Inc., P.O. Box 192016, Blythebourne




                                                   4
 Station, Brooklyn, NY 11219, Re: David’s Bridal Inc., et al.,; (b) if by overnight delivery or

 personal delivery by hand, Donlin, Recano & Company & Company, Inc., Re: David’s Bridal Inc.,

 et al., 6201 15th Avenue, Brooklyn, NY 11219; and (c) if by electronic mail, in PDF format, to

 DBVote@donlinrecano.com.

         12.    All valid ballots cast by holders entitled to vote in the Voting Classes and received

 by DRC on or before the Voting Deadline were tabulated pursuant to the Solicitation Procedures.

         13.    DRC is in possession of the ballots received by it, and copies of the same are

 available for review during DRC’s normal business hours at 6201 15th Avenue, Brooklyn, New

 York 11219.

 III.    The Voting Results

         14.    The results of the aforesaid tabulation of properly executed ballots received by

 DRC on or before the Voting Deadline are set forth below and in the report annexed hereto as

 Exhibit A (the “Final Tabulation Results”).

         CLASS                                 TOTAL BALLOTS RECEIVED
                                        Accept                                Reject
                               AMOUNT          NUMBER                AMOUNT          NUMBER
                              (% of Amount (% of Number             (% of Amount (% of Number
                                 Voted)         voted)                 Voted)         Voted)

Class 4 – Prepetition        $463,416,557.61            117             $00.00                0
Term Loan Claims                 (100%)               (100%)           (00.00%)           (00.00%)


Class 5 – Unsecured          $236,343,000.00             59         $2,000,000.00             2
Notes Claims                    (99.16%)              (96.72%)         (0.84%)            (3.28%)



         15.    A complete list of all ballots received by DRC but excluded from the final

 tabulation, and the reasons for exclusion of such ballots, is attached hereto as Exhibit B.




                                                  5
Dated:   December 28, 2018    /s/ Jung W. Song
         Brooklyn, New York   Jung W. Song
                              Senior Managing Director
                              Donlin, Recano & Company, Inc.




                                     6
Exhibit A




   7
                                                                                David's Bridal, Inc., et al.
                                                                            Exhibt A - Final Tabulation Results
                                                                                                                                                  Tabulated       Tabulated        Vote      RELEASE
Class   Ballot ID   Acct No.   Claim No.                   Creditor Name      Authorized Vote Amt    Indicated Amt   Variance    Vote  ACC RJC   Accept Amt       Reject Amt       Date      CONSENT
  4     000081      37374      090094.00   3M EMPLOYEE RETIREMENT INCOME              2,480,069.37                              ACCEPT 1    0      2,480,069.37            0.00   12/13/18
  4     000005      37293      090013.00   AGF FLOATING RATE INCOME FUND                254,501.49                              ACCEPT 1    0        254,501.49            0.00   11/27/18
  4     000120      37383      090103.00   ALASKA PERMANENT FUND CORPORAT             3,714,793.62                              ACCEPT 1    0      3,714,793.62            0.00   12/13/18
  4     000002      37281      090001.00   ALBACORE PARTNERS I INVESTMENT            43,805,823.23                              ACCEPT 1    0    43,805,823.23             0.00   12/14/18
  4     000001      37280      090000.00   ALBACORE PARTNERS II INVESTMEN             7,700,000.00                              ACCEPT 1    0      7,700,000.00            0.00   12/14/18
  4     000022      37283      090003.00   BARCLAYS BANK PLC                            439,328.05                              ACCEPT 1    0        439,328.05            0.00   12/17/18
  4     000050      37301      090021.00   BRIGHTHOUSE FUNDS TRUST I BRIG             1,579,607.28                              ACCEPT 1    0      1,579,607.28            0.00   11/27/18
  4     000021      37405      090125.00   CATAMARAN CLO 2013 1 LTD                   1,774,463.44                              ACCEPT 1    0      1,774,463.44            0.00   12/18/18
  4     000042      37406      090126.00   CATAMARAN CLO 2014-1 LTD                   2,811,524.03                              ACCEPT 1    0      2,811,524.03            0.00   12/18/18
  4     000077      37357      090077.00   CENTRAL STATES SOUTHEAST AN 02             1,140,000.00                              ACCEPT 1    0      1,140,000.00            0.00   12/13/18
  4     000023      37286      090006.00   CITIBANK NA                                5,857,864.59                              ACCEPT 1    0      5,857,864.59            0.00   12/5/18
  4     000068      37351      090071.00   COLONY INSURANCE COMPANY                     390,776.56                              ACCEPT 1    0        390,776.56            0.00   12/13/18
  4     000046      37289      090009.00   COURAGE CREDIT OPPORTUNITIES O             6,534,887.87                              ACCEPT 1    0      6,534,887.87            0.00   11/29/18
  4     000004      37290      090010.00   COURAGE CREDIT OPPORTUNITIES02            14,430,424.56                              ACCEPT 1    0    14,430,424.56             0.00   11/29/18
  4     000025      37292      090012.00   DEUTSCHE BANK AG CAYMAN ISLAND            38,269,745.71                              ACCEPT 1    0    38,269,745.71             0.00   12/18/18
  4     000063      37296      090016.00   EATON VANCE CLO 2014 1R LTD                  968,615.76                              ACCEPT 1    0        968,615.76            0.00   11/27/18
  4     000062      37295      090015.00   EATON VANCE FLOATING RATE IN02               465,055.27                              ACCEPT 1    0        465,055.27            0.00   11/27/18
  4     000052      37303      090023.00   EATON VANCE FLOATING RATE INCO             2,063,376.58                              ACCEPT 1    0      2,063,376.58            0.00   11/27/18
  4     000054      37306      090026.00   EATON VANCE FLOATING RATE PORT            23,568,542.98                              ACCEPT 1    0    23,568,542.98             0.00   11/27/18
  4     000065      37305      090025.00   EATON VANCE INSTITUTIONAL SENI             7,294,413.56                              ACCEPT 1    0      7,294,413.56            0.00   11/27/18
  4     000064      37298      090018.00   EATON VANCE INTERNATIONAL CAYM             1,041,142.49                              ACCEPT 1    0      1,041,142.49            0.00   11/27/18
  4     000053      37304      090024.00   EATON VANCE LIMITED DURATION I             3,581,996.86                              ACCEPT 1    0      3,581,996.86            0.00   11/27/18
  4     000051      37302      090022.00   EATON VANCE SENIOR FLOATING-RA             1,970,830.60                              ACCEPT 1    0      1,970,830.60            0.00   11/27/18
  4     000048      37297      090017.00   EATON VANCE SENIOR INCOME TRUS               985,415.31                              ACCEPT 1    0        985,415.31            0.00   11/27/18
  4     000047      37294      090014.00   EATON VANCE SHORT DURATION DIV               360,197.07                              ACCEPT 1    0        360,197.07            0.00   11/27/18
  4     000049      37300      090020.00   EATON VANCE VT FLOATING-RATE I             1,556,470.78                              ACCEPT 1    0      1,556,470.78            0.00   11/27/18
  4     000093      37361      090081.00   EMPLOYEES RETIREMENT FUND OF               1,440,000.00                              ACCEPT 1    0      1,440,000.00            0.00   12/13/18
  4     000116      37376      090096.00   EXELON CORPORATION PENSION M02             2,566,699.65                              ACCEPT 1    0      2,566,699.65            0.00   12/13/18
  4     000126      37389      090109.00   EXELON STRATEGIC CREDIT HOLDIN             5,028,547.60                              ACCEPT 1    0      5,028,547.60            0.00   12/13/18
  4     000082      37375      090095.00   FCA US LLC MASTER RETIREMENT T             2,498,252.46                              ACCEPT 1    0      2,498,252.46            0.00   12/13/18
  4     000058      37317      090037.00   FIAM FLOATING RATE HIGH INCOME               464,692.72                              ACCEPT 1    0        464,692.72            0.00   12/17/18
  4     000060      37319      090039.00   FIDELITY ADVISOR SERIES I FI03             2,912,455.89                              ACCEPT 1    0      2,912,455.89            0.00   12/17/18
  4     000059      37318      090038.00   FIDELITY CENTRAL INVESTMENT 03               940,143.93                              ACCEPT 1    0        940,143.93            0.00   12/17/18
  4     000056      37313      090033.00   FIDELITY FLOATING RATE HIGH 02               242,153.94                              ACCEPT 1    0        242,153.94            0.00   12/17/18
  4     000008      37316      090036.00   FIDELITY FLOATING RATE HIGH IN               436,433.26                              ACCEPT 1    0        436,433.26            0.00   12/17/18
  4     000057      37315      090035.00   FIDELITY INCOME FUND FIDELITY                361,934.85                              ACCEPT 1    0        361,934.85            0.00   12/17/18
  4     000066      37312      090032.00   FIDELITY SALEM STREET TRUST                  206,000.00                              ACCEPT 1    0        206,000.00            0.00   12/17/18
  4     000055      37311      090031.00   FIDELITY SUMMER STREET TRUST04               108,701.68                              ACCEPT 1    0        108,701.68            0.00   12/17/18
  4     000016      37379      090099.00   GENERAL ORGANIZATION FOR SOC02             3,193,877.51                              ACCEPT 1    0      3,193,877.51            0.00   12/13/18
  4     000028      37323      090043.00   HG VORA SPECIAL OPPORTUNITIES             23,999,999.06                              ACCEPT 1    0    23,999,999.06             0.00   12/18/18
  4     000010      37324      090044.00   HSBC BANK PLC                              4,000,000.00                              ACCEPT 1    0      4,000,000.00            0.00   12/18/18
  4     000076      37356      090076.00   INDIANA PUBLIC RETIREMENT SY04               876,052.08                              ACCEPT 1    0        876,052.08            0.00   12/13/18
  4     000061      37364      090084.00   INPRS STRATEGIC CREDIT HOLDING             1,575,561.47                              ACCEPT 1    0      1,575,561.47            0.00   12/13/18
  4     000080      37369      090089.00   IOWA PUBLIC EMPLOYEES RETIRE05             2,390,000.00                              ACCEPT 1    0      2,390,000.00            0.00   12/13/18
  4     000074      37338      090058.00   JERSEY CITY FUNDING LLC                    1,493,507.58                              ACCEPT 1    0      1,493,507.58            0.00   12/17/18
  4     000011      37327      090047.00   KKR CLO 10 LTD                               416,421.71                              ACCEPT 1    0        416,421.71            0.00   12/17/18
  4     000099      37330      090050.00   KKR CLO 11 LTD                               491,515.07                              ACCEPT 1    0        491,515.07            0.00   12/17/18
  4     000105      37336      090056.00   KKR CLO 12 LTD                               357,011.78                              ACCEPT 1    0        357,011.78            0.00   12/17/18
  4     000013      37337      090057.00   KKR CLO 13 LTD                               420,432.50                              ACCEPT 1    0        420,432.50            0.00   12/17/18
  4     000103      37334      090054.00   KKR CLO 14 LTD                               318,954.22                              ACCEPT 1    0        318,954.22            0.00   12/17/18




                                                                                             Page 1 of 5
                                                                                  David's Bridal, Inc., et al.
                                                                              Exhibt A - Final Tabulation Results
                                                                                                                                                    Tabulated       Tabulated        Vote      RELEASE
Class   Ballot ID   Acct No.   Claim No.                Creditor Name           Authorized Vote Amt    Indicated Amt   Variance    Vote  ACC RJC   Accept Amt       Reject Amt       Date      CONSENT
  4     000097      37326      090046.00   KKR CLO 15 LTD                                 359,194.80                              ACCEPT 1    0        359,194.80            0.00   12/17/18
  4     000104      37335      090055.00   KKR CLO 16 LTD                                 802,454.53                              ACCEPT 1    0        802,454.53            0.00   12/17/18
  4     000012      37329      090049.00   KKR CLO 9 LTD                                  448,256.16                              ACCEPT 1    0        448,256.16            0.00   12/17/18
  4     000100      37331      090051.00   KKR FINANCIAL CLO 2013 1 LTD                   521,090.90                              ACCEPT 1    0        521,090.90            0.00   12/17/18
  4     000101      37332      090052.00   KKR GLOBAL CREDIT OPPORTUNITIE                 535,639.37                              ACCEPT 1    0        535,639.37            0.00   12/17/18
  4     000102      37333      090053.00   KKR INCOME OPPORTUNITIES FUND                  886,639.90                              ACCEPT 1    0        886,639.90            0.00   12/17/18
  4     000030      37340      090060.00   MARBLE RIDGE MASTER FUND LP                  3,439,223.43                              ACCEPT 1    0      3,439,223.43            0.00   12/17/18
  4     000015      37354      090074.00   MERCER QIF FUND PLC MERCER I                   674,608.33                              ACCEPT 1    0        674,608.33            0.00   12/13/18
  4     000078      37358      090078.00   MISSOURI EDUCATION PENSION TRU               1,322,702.97                              ACCEPT 1    0      1,322,702.97            0.00   12/13/18
  4     000109      37355      090075.00   MONSANTO COMPANY MASTER PENSIO                 682,755.85                              ACCEPT 1    0        682,755.85            0.00   12/13/18
  4     000107      37350      090070.00   MONTANA BOARD OF INVESTMENTS03                 320,000.00                              ACCEPT 1    0        320,000.00            0.00   12/13/18
  4     000032      37343      090063.00   NCRAM LOAN TRUST                                69,409.50                              ACCEPT 1    0         69,409.50            0.00   12/18/18
  4     000039      37401      090121.00   NEUBERGER BERMAN ALTERNATIVE F                 349,000.00                              ACCEPT 1    0        349,000.00            0.00   12/17/18
  4     000035      37371      090091.00   NEW YORK CITY EMPLOYEES RETI04               2,433,273.00                              ACCEPT 1    0      2,433,273.00            0.00   12/13/18
  4     000033      37360      090080.00   NEW YORK CITY POLICE PENSION04               1,355,000.00                              ACCEPT 1    0      1,355,000.00            0.00   12/13/18
  4     000071      37342      090062.00   NHB BANK OF AMERICA DISTRE                   5,530,624.26                              ACCEPT 1    0      5,530,624.26            0.00   12/18/18
  4     000084      37408      090128.00   NINETEEN77 GLOBAL MULTI STRATE              10,000,000.00                              ACCEPT 1    0    10,000,000.00             0.00   12/17/18
  4     000014      37344      090064.00   NOMURA BOND AND LOAN FUND THE MA               115,682.52                              ACCEPT 1    0        115,682.52            0.00   12/18/18
  4     000037      37381      090101.00   OAKTREE CLO 2014 1 LTD CITIBAN               3,390,155.15                              ACCEPT 1    0      3,390,155.15            0.00   12/13/18
  4     000117      37377      090097.00   OAKTREE CLO 2014 2 LTD                       2,663,693.33                              ACCEPT 1    0      2,663,693.33            0.00   12/13/18
  4     000110      37362      090082.00   OAKTREE CLO 2015 1 LTD                       1,452,923.64                              ACCEPT 1    0      1,452,923.64            0.00   12/13/18
  4     000129      37393      090113.00   OAKTREE EIF II SERIES A1 LTD O               9,802,193.24                              ACCEPT 1    0      9,802,193.24            0.00   12/13/18
  4     000119      37382      090102.00   OAKTREE EIF II SERIES B2 LTD O               3,679,189.42                              ACCEPT 1    0      3,679,189.42            0.00   12/13/18
  4     000130      37395      090115.00   OAKTREE ENHANCED INCOME FUNDIN              12,467,752.25                              ACCEPT 1    0    12,467,752.25             0.00   12/13/18
  4     000123      37386      090106.00   OAKTREE FORREST MULTI STRATEGY               4,274,969.92                              ACCEPT 1    0      4,274,969.92            0.00   12/13/18
  4     000017      37392      090112.00   OAKTREE GLOBAL HIGH YIELD BOND               7,581,216.29                              ACCEPT 1    0      7,581,216.29            0.00   12/13/18
  4     000106      37347      090067.00   OAKTREE HIGH YIELD BOND FUND                   189,841.64                              ACCEPT 1    0        189,841.64            0.00   12/13/18
  4     000118      37380      090100.00   OAKTREE HIGH YIELD FUND II LP                3,367,533.49                              ACCEPT 1    0      3,367,533.49            0.00   12/13/18
  4     000113      37370      090090.00   OAKTREE HIGH YIELD FUND LP                   2,402,781.95                              ACCEPT 1    0      2,402,781.95            0.00   12/13/18
  4     000125      37388      090108.00   OAKTREE NGP STRATEGIC CREDIT L               4,970,995.88                              ACCEPT 1    0      4,970,995.88            0.00   12/13/18
  4     000124      37387      090107.00   OAKTREE SENIOR LOAN FUND LP                  4,946,315.33                              ACCEPT 1    0      4,946,315.33            0.00   12/13/18
  4     000112      37368      090088.00   OAKTREE STRATEGIC CREDIT FUND                2,227,068.47                              ACCEPT 1    0      2,227,068.47            0.00   12/13/18
  4     000128      37391      090111.00   OAKTREE TBMR STRATEGIC CREDI02               6,220,314.39                              ACCEPT 1    0      6,220,314.39            0.00   12/13/18
  4     000115      37373      090093.00   OAKTREE TBMR STRATEGIC CREDI03               2,477,951.26                              ACCEPT 1    0      2,477,951.26            0.00   12/13/18
  4     000121      37384      090104.00   OAKTREE TBMR STRATEGIC CREDI04               3,733,567.58                              ACCEPT 1    0      3,733,567.58            0.00   12/13/18
  4     000127      37390      090110.00   OAKTREE TCDRS STRATEGIC CREDIT               5,102,383.32                              ACCEPT 1    0      5,102,383.32            0.00   12/13/18
  4     000122      37385      090105.00   OAKTREE TSE 16 STRATEGIC CREDI               3,751,592.92                              ACCEPT 1    0      3,751,592.92            0.00   12/13/18
  4     000019      37396      090116.00   OCM DB HOLDINGS 1 LTD                       15,464,456.35                              ACCEPT 1    0    15,464,456.35             0.00   12/13/18
  4     000018      37394      090114.00   OCM DB HOLDINGS 2 LTD                       10,018,003.55                              ACCEPT 1    0    10,018,003.55             0.00   12/13/18
  4     000111      37365      090085.00   OCM HIGH YIELD TRUST OCM GROUP               2,167,795.21                              ACCEPT 1    0      2,167,795.21            0.00   12/13/18
  4     000087      37299      090019.00   PACIFIC SELECT FUND FLOATING R               1,183,124.13                              ACCEPT 1    0      1,183,124.13            0.00   11/27/18
  4     000094      37397      090117.00   PETRUS YIELD OPPORTUNITY FUND                4,978,058.29                              ACCEPT 1    0      4,978,058.29            0.00   12/13/18
  4     000083      37402      090122.00   PRINCIPAL FUNDS INC GLOBAL M02               2,172,000.00                              ACCEPT 1    0      2,172,000.00            0.00   12/17/18
  4     000090      37348      090068.00   RETIREMENT ANNUITY PLAN FOR E                  275,000.00                              ACCEPT 1    0        275,000.00            0.00   12/13/18
  4     000020      37399      090119.00   RIMROCK HIGH INCOME PLUS MASTE              15,163,738.71                              ACCEPT 1    0    15,163,738.71             0.00   11/28/18
  4     000131      37398      090118.00   RIMROCK LOW VOLATILITY MASTER                2,878,201.53                              ACCEPT 1    0      2,878,201.53            0.00   11/28/18
  4     000075      37345      090065.00   RIVERNORTH OAKTREE HIGH INCOME                  90,000.00                              ACCEPT 1    0         90,000.00            0.00   12/13/18
  4     000092      37352      090072.00   SALVATION ARMY AN ILLINOIS CO                  423,645.45                              ACCEPT 1    0        423,645.45            0.00   12/13/18
  4     000114      37372      090092.00   SAN DIEGO COUNTY EMPLOYEES RE                2,471,543.72                              ACCEPT 1    0      2,471,543.72            0.00   12/13/18
  4     000108      37353      090073.00   SAN FRANCISCO CITY AND COUN02                  661,506.94                              ACCEPT 1    0        661,506.94            0.00   12/13/18




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                                                                                             David's Bridal, Inc., et al.
                                                                                         Exhibt A - Final Tabulation Results
                                                                                                                                                                   Tabulated       Tabulated        Vote      RELEASE
Class   Ballot ID   Acct No. Claim No.                    Creditor Name                        Authorized Vote Amt    Indicated Amt   Variance    Vote  ACC RJC   Accept Amt       Reject Amt       Date      CONSENT
  4     000079      37363      090083.00   SEARS HOLDINGS PENSION TRUST                                1,549,012.47                              ACCEPT 1    0      1,549,012.47            0.00   12/13/18
  4     000044      37284      090004.00   SENIOR DEBT PORTFOLIO BY BOSTO                             17,143,184.66                              ACCEPT 1    0    17,143,184.66             0.00   11/27/18
  4     000040      37403      090123.00   SOUND POINT BEACON MASTER FUND                              4,408,000.00                              ACCEPT 1    0      4,408,000.00            0.00   12/17/18
  4     000041      37404      090124.00   SOUND POINT CREDIT OPPORTUNITI                              7,864,000.00                              ACCEPT 1    0      7,864,000.00            0.00   12/17/18
  4     000038      37400      090120.00   SOUND POINT MONTAUK FUND LP                                   207,000.00                              ACCEPT 1    0        207,000.00            0.00   12/17/18
  4     000072      37367      090087.00   STATE TEACHERS RETIREMENT SY02                              2,218,040.95                              ACCEPT 1    0      2,218,040.95            0.00   12/13/18
  4     000098      37328      090048.00   TACTICAL VALUE SPN GLOBAL CRED                                447,333.91                              ACCEPT 1    0        447,333.91            0.00   12/17/18
  4     000034      37366      090086.00   TEACHERS RETIREMENT SYSTEM 10                               2,190,000.00                              ACCEPT 1    0      2,190,000.00            0.00   12/13/18
  4     000095      37346      090066.00   TEXAS COUNTY AND DISTRICT RETIRE                              160,000.00                              ACCEPT 1    0        160,000.00            0.00   12/13/18
  4     000091      37349      090069.00   TRUST FOR RETIREE MEDICAL DEN                                 280,000.00                              ACCEPT 1    0        280,000.00            0.00   12/13/18
  4     000043      37407      090127.00   UBS AG STAMFORD BRANCH                                      2,000,000.00                              ACCEPT 1    0      2,000,000.00            0.00   12/12/18
  4     000069      37359      090079.00   VANTAGETRUST III MASTER COLLEC                              1,350,744.64                              ACCEPT 1    0      1,350,744.64            0.00   12/13/18
  4     000067      37314      090034.00   VARIABLE INSURANCE PRODUCTS 02                                242,153.94                              ACCEPT 1    0        242,153.94            0.00   12/17/18
  4     000031      37341      090061.00   VENTURE XX CLO LIMITED                                      1,210,769.70                              ACCEPT 1    0      1,210,769.70            0.00   12/18/18
  4     000036      37378      090098.00   WESPATH FUNDS TRUST        02                               2,872,032.45                              ACCEPT 1    0      2,872,032.45            0.00   12/13/18
  4     000085      37409      090129.00   WHITEBOX ASYMMETRIC PARTNERS L                              5,400,000.00                              ACCEPT 1    0      5,400,000.00            0.00   12/18/18
  4     000086      37410      090130.00   WHITEBOX MULTI STRATEGY PARTNE                              9,600,000.00                              ACCEPT 1    0      9,600,000.00            0.00   12/18/18
                    Totals for Class 4
                                           Aggregate Class 4 Claim Amount Voted to Accept:          463,416,557.61      100.00%
                                           Aggregate Class 4 Claim Amount Voted to Reject:                    0.00       0.00%
                                                    Aggregate Class 4 Claim Amount Voted:           463,416,557.61

                                           Aggregate Class 4 Claim Quantity Voted to Accept:           117              100.00%
                                           Aggregate Class 4 Claim Quantity Voted to Reject:            0                0.00%
                                                    Aggregate Class 4 Claim Quantity Voted:            117




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                                                                                     David's Bridal, Inc., et al.
                                                                                 Exhibt A - Final Tabulation Results
                                                                                                                                                                 Tabulated       Tabulated        Vote      RELEASE
Class   Ballot ID   Acct No.   Claim No.                    Creditor Name            Authorized Vote Amt    Indicated Amt       Variance        Vote  ACC RJC   Accept Amt       Reject Amt       Date      CONSENT
  5     000146      4537       095007.00   (23306BAA6) BROWN BROTHERS HARRIMAN &               180,000.00        180,000.00             0.00   ACCEPT 1    0        180,000.00            0.00   12/18/18
  5     000133      3059       095011.00   (23306BAA6) CITIBANK, N.A.                        1,605,000.00      1,605,000.00             0.00   ACCEPT 1    0      1,605,000.00            0.00   12/18/18
  5     000137      3005       095008.00   (23306BAA6) JPMORGAN CHASE BANK,                 30,911,000.00      1,025,000.00   -29,886,000.00   ACCEPT 1    0      1,025,000.00            0.00   12/18/18
  5     000138      2XDN       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00      2,880,000.00             0.00   ACCEPT 1    0      2,880,000.00            0.00   12/17/18
  5     000138      4BIJ       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00        660,000.00             0.00   ACCEPT 1    0        660,000.00            0.00   12/17/18
  5     000138      MJEV       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00        670,000.00             0.00   ACCEPT 1    0        670,000.00            0.00   12/17/18
  5     000138      MU8P       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00        320,000.00             0.00   ACCEPT 1    0        320,000.00            0.00   12/17/18
  5     000138      N0FM       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00      2,310,000.00             0.00   ACCEPT 1    0      2,310,000.00            0.00   12/17/18
  5     000138      N1H9       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00      2,525,000.00             0.00   ACCEPT 1    0      2,525,000.00            0.00   12/17/18
  5     000138      N2GN       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00      1,400,000.00             0.00   ACCEPT 1    0      1,400,000.00            0.00   12/17/18
  5     000138      OA0K       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00        245,000.00             0.00   ACCEPT 1    0        245,000.00            0.00   12/17/18
  5     000138      OA8K       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00      2,655,000.00             0.00   ACCEPT 1    0      2,655,000.00            0.00   12/17/18
  5     000138      OOJM       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00        330,000.00             0.00   ACCEPT 1    0        330,000.00            0.00   12/17/18
  5     000138      OOKL       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00        580,000.00             0.00   ACCEPT 1    0        580,000.00            0.00   12/17/18
  5     000138      PNAI       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00      2,250,000.00             0.00   ACCEPT 1    0      2,250,000.00            0.00   12/17/18
  5     000138      PPIP       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00      1,000,000.00             0.00   ACCEPT 1    0      1,000,000.00            0.00   12/17/18
  5     000138      RV2E       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00         85,000.00             0.00   ACCEPT 1    0         85,000.00            0.00   12/17/18
  5     000138      SDBO       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00      2,605,000.00             0.00   ACCEPT 1    0      2,605,000.00            0.00   12/17/18
  5     000138      SPUH       095009.00   (23306BAA6) STATE STREET BANK AND TRUST          21,205,000.00        690,000.00             0.00   ACCEPT 1    0        690,000.00            0.00   12/17/18
  5     000136      161735     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      6,432,000.00             0.00   ACCEPT 1    0      6,432,000.00            0.00   12/18/18
  5     000136      236470     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00        250,000.00             0.00   ACCEPT 1    0        250,000.00            0.00   12/18/18
  5     000136      483526     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00        605,000.00             0.00   ACCEPT 1    0        605,000.00            0.00   12/18/18
  5     000136      507254     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,794,000.00             0.00   ACCEPT 1    0      2,794,000.00            0.00   12/18/18
  5     000136      507258     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      3,455,000.00             0.00   ACCEPT 1    0      3,455,000.00            0.00   12/18/18
  5     000136      507274     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,051,000.00             0.00   ACCEPT 1    0      2,051,000.00            0.00   12/18/18
  5     000136      507283     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,185,000.00             0.00   ACCEPT 1    0      2,185,000.00            0.00   12/18/18
  5     000136      507284     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      4,661,000.00             0.00   ACCEPT 1    0      4,661,000.00            0.00   12/18/18
  5     000136      507285     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,662,000.00             0.00   ACCEPT 1    0      2,662,000.00            0.00   12/18/18
  5     000136      521918     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      4,699,000.00             0.00   ACCEPT 1    0      4,699,000.00            0.00   12/18/18
  5     000136      521931     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      4,631,000.00             0.00   ACCEPT 1    0      4,631,000.00            0.00   12/18/18
  5     000136      674367     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      1,451,000.00             0.00   ACCEPT 1    0      1,451,000.00            0.00   12/18/18
  5     000136      674379     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00     19,778,000.00             0.00   ACCEPT 1    0    19,778,000.00             0.00   12/18/18
  5     000136      689632     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      4,578,000.00             0.00   ACCEPT 1    0      4,578,000.00            0.00   12/18/18
  5     000136      689634     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      1,941,000.00             0.00   ACCEPT 1    0      1,941,000.00            0.00   12/18/18
  5     000136      689657     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      1,937,000.00             0.00   ACCEPT 1    0      1,937,000.00            0.00   12/18/18
  5     000136      695633     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00        380,000.00             0.00   ACCEPT 1    0        380,000.00            0.00   12/18/18
  5     000136      696054     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,115,000.00             0.00   ACCEPT 1    0      2,115,000.00            0.00   12/18/18
  5     000136      731015     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,360,000.00             0.00   ACCEPT 1    0      2,360,000.00            0.00   12/18/18
  5     000136      735749     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,000,000.00             0.00   ACCEPT 1    0      2,000,000.00            0.00   12/18/18
  5     000136      793559     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,495,000.00             0.00   ACCEPT 1    0      2,495,000.00            0.00   12/18/18
  5     000136      833189     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,284,000.00             0.00   ACCEPT 1    0      2,284,000.00            0.00   12/18/18
  5     000136      833349     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,485,000.00             0.00   ACCEPT 1    0      2,485,000.00            0.00   12/18/18
  5     000136      847909     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      1,424,000.00             0.00   ACCEPT 1    0      1,424,000.00            0.00   12/18/18
  5     000136      847912     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      7,400,000.00             0.00   ACCEPT 1    0      7,400,000.00            0.00   12/18/18
  5     000136      847978     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      2,610,000.00             0.00   ACCEPT 1    0      2,610,000.00            0.00   12/18/18
  5     000136      847979     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      3,035,000.00             0.00   ACCEPT 1    0      3,035,000.00            0.00   12/18/18
  5     000136      943941     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00        865,000.00             0.00   ACCEPT 1    0        865,000.00            0.00   12/18/18
  5     000136      955640     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00        390,000.00             0.00   ACCEPT 1    0        390,000.00            0.00   12/18/18
  5     000136      969453     095003.00   (23306BAA6) THE BANK OF NEW YORK MELLON          97,318,000.00      3,365,000.00             0.00   ACCEPT 1    0      3,365,000.00            0.00   12/18/18
  5     000142      1743503    095005.00   (23306BAA6) THE NORTHERN TRUST COMPANY           14,186,000.00      2,025,000.00    -1,266,000.00   ACCEPT 1    0      2,025,000.00            0.00   12/17/18




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                                                                                             David's Bridal, Inc., et al.
                                                                                         Exhibt A - Final Tabulation Results
                                                                                                                                                                           Tabulated       Tabulated        Vote      RELEASE
Class   Ballot ID   Acct No. Claim No.                      Creditor Name                      Authorized Vote Amt    Indicated Amt      Variance        Vote  ACC RJC    Accept Amt       Reject Amt       Date      CONSENT
  5     000142      1743504 095005.00      (23306BAA6) THE NORTHERN TRUST COMPANY                     14,186,000.00        500,000.00   -1,266,000.00   ACCEPT 1    0         500,000.00            0.00   12/17/18
  5     000142      1746267 095005.00      (23306BAA6) THE NORTHERN TRUST COMPANY                     14,186,000.00      2,070,000.00   -1,266,000.00   ACCEPT 1    0       2,070,000.00            0.00   12/17/18
  5     000142      1747186 095005.00      (23306BAA6) THE NORTHERN TRUST COMPANY                     14,186,000.00      3,575,000.00   -1,266,000.00   ACCEPT 1    0       3,575,000.00            0.00   12/17/18
  5     000142      1769414 095005.00      (23306BAA6) THE NORTHERN TRUST COMPANY                     14,186,000.00      2,710,000.00   -1,266,000.00   ACCEPT 1    0       2,710,000.00            0.00   12/17/18
  5     000142      2262702 095005.00      (23306BAA6) THE NORTHERN TRUST COMPANY                     14,186,000.00        620,000.00   -1,266,000.00   ACCEPT 1    0         620,000.00            0.00   12/17/18
  5     000142      2655880 095005.00      (23306BAA6) THE NORTHERN TRUST COMPANY                     14,186,000.00      1,420,000.00   -1,266,000.00   ACCEPT 1    0       1,420,000.00            0.00   12/17/18
  5     000143      1050975151 095006.00   (23306BAA6) U.S. BANK N.A.                                    505,000.00        505,000.00            0.00   ACCEPT 1    0         505,000.00            0.00   12/18/18
  5     000140      OAKTREE 095014.00      (23306BAA6) WELLS FARGO BANK, N.A./SIG                        160,000.00        160,000.00            0.00   ACCEPT 1    0         160,000.00            0.00   12/18/18
  5     000139      202701     095010.00   (23306BAA6) WELLS FARGO BANK, NATIONAL                   101,425,000.00     101,425,000.00            0.00   ACCEPT 1    0    101,425,000.00             0.00   12/17/18
  5     000132      8825       095001.00   (U24000AA6) CITIBANK, N.A.                                  2,000,000.00      1,000,000.00            0.00   REJECT 0    1               0.00    1,000,000.00   12/18/18
  5     000132      9348       095001.00   (U24000AA6) CITIBANK, N.A.                                  2,000,000.00      1,000,000.00            0.00   REJECT 0    1               0.00    1,000,000.00   12/18/18    Opt-Out
                    Totals for Class 5
                                           Aggregate Class 5 Claim Amount Voted to Accept:          236,343,000.00       99.16%
                                           Aggregate Class 5 Claim Amount Voted to Reject:            2,000,000.00       0.84%
                                                    Aggregate Class 5 Claim Amount Voted:           238,343,000.00

                                           Aggregate Class 5 Claim Quantity Voted to Accept:           59                96.72%
                                           Aggregate Class 5 Claim Quantity Voted to Reject:            2                3.28%
                                                    Aggregate Class 5 Claim Quantity Voted:            61




                                                                                                              Page 5 of 5
Exhibit B
                                                          David’s Bridal, Inc., et al.
                                           Exhibit B – Report of Ballots Excluded from Tabulation
                                               Indicated Voting   Accept/
Class   Class Description   Entity Name        Amount             Reject    Reason(s) for Exclusion
        Prepetition
        Term Loan           Edgepoint                                       Voting Entity does not hold a claim in Voting Class as of the Voting
4       Claims              Investment Group   $12,407,546.32     ACCEPT    Record Date
